Case 3:18-cr-00046-RGJ-CHL Document 175 Filed 08/18/21 Page 1 of 10 PageID #: 1019




                               UNITED STATES DISTRJCT COURT
                                                                                JAMt•v~         '
                                                                                                    ~R D
                                                                                                      · - CLERK
                               WESTERN DISTRJCT OF KENTUCKY                              AUG 18 2021
                                       AT LOUISVILLE
                                                                                 wis~•.il~j:TICT COURT
   UNITED STATES OF AMERJCA                                                             ·     · KENTUCKY
                                                                SUPERSEDING INDICTMENT
   V.
                                                        NO.       3:18-CR-46-RGJ
                                                                21 U.S.C. § 841(a)(l)
   JAVIER H. RODRIGUEZ                                          21 U.S.C. § 841(b)(l)
   a/k/a JUNIOR                                                 21 U.S.C. § 846
   CHARLES 0. CATER                                             18 U.S.C. § 924(c)(l)(A)
   a/k/a TUKI                                                   18 U.S.C. § 924(d)
   a/k/aBLACK                                                   18 U.S .C. § 9240)(1)
                                                                18 U.S.C. § 1111
                                                                18 U.S.C. § 922(g)
                                                                18 U.S.C. § 924(a)
                                                                18 U.S.C. § 1512
                                                                21 U.S.C. § 853
                                                                28 U.S.C. § 2461
                                                                18 U.S.C. § 2
   The Grand Jury charges:

                                              COUNT I
                (Conspiracy to Possess with Intent to Distribute Controlled Substances)

          From on or about and between November 30, 2017, and February 23, 2018, in the Western

   District of Kentucky, Jefferson County, Kentucky and elsewhere, the defendants, JAVIER H.

   RODRIGUEZ, a/k/a JUNIOR, and CHARLES 0. CATER, a/k/a TUKI , a/k/a BLACK,

   knowingly and intentionally conspired, with each other and others known and unknown to the

   grand jury, to possess with the intent to distribute controlled substances, as defined by Title 21 ,

   United States Code, Section 812, including: fifty (50) grams or more of methamphetamine, a

   Schedule II controlled substance, as defined by Title 21 , United States Code, Section 812; one (1)

   kilogram or more of a mixture and substance containing heroin, a Schedule I controlled substance, .

   as defined by Title 21 , United States Code, Section 812; 400 grams or more of a mixture and

   substances containing a detectable amount of N-phenyl-N-[(1-(2-phenethyl)-4-piperidinyl]
Case 3:18-cr-00046-RGJ-CHL Document 175 Filed 08/18/21 Page 2 of 10 PageID #: 1020




   propanamide, commonly known as "fentanyl", a Schedule II controlled substance, as defined by

   Title 21 , United States Code, Section 812; and less than fifty (50) kilograms of a mixture and

   substance containing a detectable amount of marijuana, a Schedule I controlled substance, as

   defined in Title 21 , United States Code, Section 812, all in violation of Title 21 , United States

   Code, Section 841 (a)(l).

          In violation of Title 21 , United States Code, Sections 846, 841(b)(l)(A) and (b)(l)(D).



   The Grand Jury further charges:

                                             COUNT2
                 ( Use/Possession/Discharge of a Firearm During, and in Relation To,
                           a Drug Trafficking Crime, Resulting in Murder)

          On or about January 20, 2018, in the Western District of Kentucky, Jefferson County,

   Kentucky, the defendants, JAVIER H. RODRIGUEZ, a/k/a JUNIOR, and CHARLES 0.

   CATER, a/k/a TUKI, a/k/a BLACK, aided and abetted by each other, and others known and

   unknown to the grand jury, knowingly used, carried and discharged a firearm, during and in

   relation to a drug trafficking crime, for which they may be prosecuted in a court of the United

   States, that is, conspiracy to distribute controlled substances, as charged in Count 1 of this

   Superseding Indictment in violation of Title 21 , United States Code, Section 846; and in so doing,

   they caused the death of a person, V.R. , through the use of the firearm in such a manner as to

   constitute murder, as defined by Title 18, United States Code, Section 1111 , in that the defendants

   did unlawfully kill the victim with malice aforethought.

          In violation of Title 18, United States Code, Sections 924(c)(l)(A), 924G)(l) and 2.



                                                    2
Case 3:18-cr-00046-RGJ-CHL Document 175 Filed 08/18/21 Page 3 of 10 PageID #: 1021




                     OTICE OF SPECIAL FINDINGS PURSUANT TO TITLE 18
                      UNITED STATES CODE, SECTIONS 3591 AND 3592

   The Grand Jury further finds :

          The allegations set forth in Counts 1 and 2 are realleged as if set forth fully herein.

       1. JAVIER H. RODRIGUEZ, a/k/a JUNIOR, and CHARLES 0. CATER, a/k/a TUKI,

          a/k/a BLACK, were 18 years of age or older at the time of the offense;

      2. JAVIER H. RODRIGUEZ, a/k/a JUNIOR, and CHARLES 0. CATER, a/k/a TUIU, a/k/a

          BLACK, intentionally killed V.R. (18 U.S.C. § 3591 (a) (2) (A));

      3. JAVIER H. RODRIGUEZ, a/k/a JUNIOR, and CHARLES 0. CATER, a/k/a TUIU, a/k/a

          BLACK, intentionally inflicted serious bodily injury that resulted in the death ofV.R. (18

          U.S.C. §3591 (a) (2) (B));

      4. JAVIER H. RODRIGUEZ, a/k/a JUNIOR, and CHARLES 0. CATER, a/k/a TUIU, a/k/a

          BLACK, intentionally participated in an act, contemplating that the life of a person would

          be taken or intending that lethal force would be used in connection with a person, other

          than one of the participants in the offense, and V.R. died as a direct result of the act (18

          U.S.C. § 3591 (a) (2) (C));

      5. JAVIER H. RODRIGUEZ, a/k/a JUNIOR, and CHARLES 0. CATER, a/k/a TUIU, a/k/a

          BLACK, intentionally and specifically engaged in an act of violence, knowing that the act

          created a grave risk of death to a person, other than one of the participants in the offense,

          such that participation in the act constituted a reckless disregard for human life, and V.R.

          died as a result of the act (18 U.S.C. § 3591 (a) (2) (D)) ;




                                                     3
Case 3:18-cr-00046-RGJ-CHL Document 175 Filed 08/18/21 Page 4 of 10 PageID #: 1022




       6. CHARLES 0. CATER, a/k/a TUKI, a/k/a BLACK, has previously been convicted of an

          offense punishable by a term of imprisonment of more than 1 year, involving the use or

          attempted or threatened use of a firearm against another person (18 U.S .C. § 3592 (c) (2));

       7. JAVIER H. RODRIGUEZ, a/k/a JUNIOR, procured the commission of the offense by

          payment, or promise of payment, or anything of pecuniary value (18 U.S .C. § 3592 (c)

          (7));

       8. CHARLES 0. CATER, a/k/a TUKI, a/k/a BLACK, committed the offense as consideration

          for the receipt, or in the expectation of the receipt, of anything of pecuniary value (18

          U.S.C. § 3592 (c) (8));

       9. JAVIER H. RODRIGUEZ, a/k/a JUNIOR, and CHARLES 0. CATER, a/k/a TUKI, a/k/a

          BLACK, committed the offense after substantial planning and premeditation to cause the

          death of V.R. (18 U.S.C. § 3592 (c) (9)).



   The Grand Jury further charges:

                                              COUNT3
                       (Possession with Intent to Distribute Methamphetamine)

          On or about January 19, 2018, in the Western District of Kentucky, Jefferson County,

   Kentucky, the defendant, JAVIER H. RODRIGUEZ, a/k/a JUNIOR, aided and abetted by others

   known and unknown to the grand jury, knowingly and intentionally possessed with intent to

   distribute fifty (50) grams or more of methamphetamine, a Schedule II controlled substance, as

   defined by Title 21 , United States Code, Section 812.

          In violation of Title 21 , United States Code, Sections 841(a)(l) and 841(b)(l)(A)(viii); and

   Title 18, United States Code, Section 2.
                                                      4
Case 3:18-cr-00046-RGJ-CHL Document 175 Filed 08/18/21 Page 5 of 10 PageID #: 1023




   The Grand Jury further charges:

                                               COUNT4
                             (Possession with Intent to Distribute Fentany l)

           On or about January 19, 2018, in the Western District of Kentucky, Jefferson County,

   Kentucky, the defendant, JAVIER H. RODRIGUEZ, a/k/a JUNIOR, aided and abetted by others

   known and unknown to the grand jury, knowingly and intentionally possessed with intent to

   distribute a mixture and substance containing a detectable amount of N-phenyl-N-[(1-(2-

   phenethyl)-4-piperidinyl] propanamide, commonly known as "fentanyl", a Schedule II controlled

   substance, as defined by Title 21 , United States Code, Section 812.

           In violation of Title 21 , United States Code, Sections 841(a)(l) and 841(b)(l )(C); and Title

    18, United States Code, Section 2.



   The Grand Jury further charges:

                                               COUNTS
                             (Possession with Intent to Distribute Fentanyl)

           On or about January 26, 2018, in the Western District of Kentucky, Jefferson County,

   Kentucky, the defendant, JAVIER H. RODRIGUEZ, a/k/a JUNIOR, aided and abetted by others

   known and unknown to the grand jury, knowingly and intentionally possessed with intent to

   distribute forty (40) grams or more a mixture and substance containing a detectable amount ofN-

   phenyl-N-[(1-(2-phenethyl)-4-piperidinyl] propanamide, commonly known as "fentanyl", a

   Schedule II controlled substance, as defined by Title 21 , United States Code, Section 812.

           In violation of Title 21 , United States Code, Sections 841 (a)(l) and 841 (b)(l)(B); and Title

   18, United States Code, Section 2.

                                                      5
Case 3:18-cr-00046-RGJ-CHL Document 175 Filed 08/18/21 Page 6 of 10 PageID #: 1024




   The Grand Jury further charges:

                                               COUNT6
                            (Possession of a Firearm by a Convicted Felon)

           On or about February 23, 2018, in the Western District of Kentucky, Jefferson County,

   Kentucky, the defendant, CHARLES 0. CATER, a/k/a TUKI, a/k/a BLACK, knowingly

   possessed, in and affecting commerce, a firearm, to wit: a Sig Sauer, Model P220, .45 caliber semi-

   automatic pistol, bearing serial number G317794, and ammunition, with knowledge that he had

   previously been convicted in a court of a crime punishable by imprisonment for a term exceeding

   one year, that is:

           On or about February 11 , 1997, CHARLES 0. CATER, was convicted of
           complicity to four (4) counts of Robbery First Degree; two (2) counts of complicity
           to Kidnapping an Adult; and two (2) counts of complicity to Unlawful
           Imprisonment in the First Degree under case number 96-CR-001265-001 , in
           Jefferson Circuit Court, Jefferson County, Kentucky.

           In violation of Title 18, United States Code, Sections 922(g)(l) and 924(a)(2).



   The Grand Jury further charges:

                                              COUNT7
                         (Conspiracy to Obstruct Justice- Witness Tampering)

           From on or about and between April 6, 2021, and April 14, 2021, in the Western District

   of Kentucky, Jefferson County, Kentucky, the defendant, CHARLES 0. CATER, a/k/a TUKI,

   a/k/a BLACK, knowingly and intentionally conspired with others known and unknown to the

   grand jury, to attempt to intimidate, threaten, and corruptly persuade another person, that




                                                    6
Case 3:18-cr-00046-RGJ-CHL Document 175 Filed 08/18/21 Page 7 of 10 PageID #: 1025




   is, Witness 1, with intent to influence, delay, and prevent the testimony of Witness 1 in an official

   proceeding.

          In violation of Title 18, United States Code, Sections 1512(b)(1) and (k).


                                      NOTICE OF FORFEITURE

          As a result of committing offenses in violation of Title 21 , United States Code, Section 846

   and 841(a)(l), as alleged in this Superseding Indictment, felonies punishable by imprisonment for

   more than one year, the defendants, JAVIER H. RODRIGUEZ, a/k/a JUNIOR, and CHARLES

   0. CATER, a/k/a TUKJ , a/k/a BLACK, shall forfeit to the United States, any and all property

   constituting, or derived from, proceeds the defendants obtained, directly or indirectly, as a result

   of said offense, and any and all of the defendants ' property used, or intended to be used, in any

   manner or part, to commit or to facilitate the commission of the violation alleged in this

   Superseding Indictment.

          Furthermore, as a result of committing offenses in violation of Title 18, United States Code,

   Sections 922(g)(l) and 924(a)(2), as alleged in this Superseding Indictment, a felony punishable

   by imprisonment for more than one year, the defendant, CHARLES 0. CATER, a/k/a TUIU, a/k/a

   BLACK, shall forfeit to the United States, pursuant to Title 18, United States Code, Section 924( d),

   and Title 28, United States Code, Section 2461 , all firearms and ammunition involved in the

   commission of the offense; to specifically include, but not limited to the following: a Sig Sauer,

   Model P220, .45 caliber semi-automatic pistol, bearing serial number G317794, and ammunition.




                                                    7
Case 3:18-cr-00046-RGJ-CHL Document 175 Filed 08/18/21 Page 8 of 10 PageID #: 1026




          Pursuant to Title 18, United States Code, 924(d), Title 21 , United States Code, Section 853

   and Title 28, United States Code, Section 2461 .

                                                A TRUE BILL.




                                                -
                                                FOREPERSON




   MICHAEt A. BENNETT
   ACTING UNITED STA TES ATTORNEY


   MAB:MAC/RBB:8-18-2021




                                                      8
Case 3:18-cr-00046-RGJ-CHL Document 175 Filed 08/18/21 Page 9 of 10 PageID #: 1027



   UNITED STATES OF AMERICA             V.   JAVIERH. RODRIGUEZ,         et al
                                                        PENALTIES

   Count I :           NL IOyrs./NM Life/$ I 0,000,000 fine/both/NL 5 yrs./NM Life Supervised Release
                       (NL 15 yrs./NM Life/$20,000,000 fin e/both/NL IO yrs./NM Life Supervised Release (With notice of one
                       prior qualifying conviction))
                       (NL 25 yrs./NM Life/$20,000,000 fine/both/NL 10 yrs./NM Life Supervised Release (With notice of two
                       prior qualifying convictions))
   Count 2:            Death, Life, or any term ofyears/$250,000fine/both/NM 5 yrs. Supervised Release
   Count 3:            NL 10 yrs./NM Life/$ 10,000,000 fine/both/NL 5 yrs./NM Life Supervised Release
                       (NL 15 yrs./NM Life/$20,000,000 fine/both/NL IO yrs./NM Life Supervised Release (With notice of one
                       prior qualifying conviction))
   Count 4:            NM 20 yrs./$ 1,000,000 fine/both/ NL 3 yrs./NM Life Supervised Release
   Count 5:            NL 5 yrs./NM 40 yrs./$5,000,000 fine/both/NL 4 yrs./NM Life Supervised Release
                       (NL IO yrs./NM Life/$8,000,000 fine/both/NL 8 yrs./NM Life Supervised Release (With notice of one prior
                       qualifying conviction))
   Count 6:            NM 10 yrs./$250,000 fine/both/ M 3 yrs. Supervi sed Release
   Count 7:            NM 20 yrs./$250,000 fine/both/ M 3 yrs. Supervised Release
   Forfeiture
                                                              OTICE

   ANY PERSON CONVICTED OF AN OFFENSE AGAINST THE UNITED STATES SHALL BE SUBJECT TO
   SPECIAL ASSESSME TS, FI ES, RESTITUTION & COSTS.

   SPECIAL ASSESSMENTS

   18 U .S.C. § 3013 requires that a special assessment shall be imposed for each count ofa conviction ofoffenses committed
   after November 11, 1984, as follows:

               Misdemeanor: $ 25 per count/individual        Felony : $100 per count/individual
                            $ 125 per count/other                     $400 per count/other




   In addition to any of the above assessments, you may also be sentenced to pay a fine. Such fine is due immediately unless
   the court issues an order requiring payment by a date certain or sets out an installment schedule. You shall provide the
   U nited States Attorney's Office with a current mailing address for the entire period that any part of the fine remains
   unpaid, or you may be held in contempt of court. 18 U.S.C. § 3571 , 3572, 3611 , 3612

   Failure to pay fine as ordered may subject you to the following:

               1. INTEREST and PENALTIES as applicable by law according to last date of offense.

                       For offenses occurring after December 12, 1987:

                       No INTEREST wi ll accrue on fines und er $2,500 .00 .

                       I TEREST wi ll accrue according to the Federal Civil Post-Judgment Interest Rate
                       in effect at the time of sentencing. Thi s rate changes monthly. Interest accrues from
                       the first business day following the two week period after the date a fine is imposed.

                       PENALTIES of:

                       10% of fine balance if payment more than 30 days late.

                       15% of fine balance if payment more than 90 days late.
Case 3:18-cr-00046-RGJ-CHL Document 175 Filed 08/18/21 Page 10 of 10 PageID #: 1028



             2.        Recordation of a LIEN shall have the same force and effect as a tax lien.

             3.        Continuous GARNISHMENT may apply until your fine is paid.

             18 U.S.C. §§ 3612, 36 13

                       If you WILLFULLY refuse to pay your fine, yo u shall be subject to an
                       ADDITIONAL FINE of not more than the greater of$10,000 or twice the unpaid
                       balance of the fine; or IMP RISO MENT for not more than 1 year or both . 18
                       u.s.c. § 3615
    RESTITUTION

    If you are convicted of an offense under Title 18, U .S.C., or under certain air piracy offenses, you may also be ·ordered to
    make restitution to any victim of the offense, in addition to, or in lieu of any other penalty authorized by law. 18 U.S.C. §
    3663

    APPEAL

    If you appeal your conviction and the sentence to pay you r fine is stayed pending appeal, the court shall require:

             1.        That you deposit the entire fine amount (or the amount due under an installment
                       schedu le during the time of your appeal) in an escrow account with the U.S . District
                       Court Clerk, or

             2.        Give bond for payment thereof.

             18 U.S.C. § 3572(g)

    PAYME TS

    If yo u are ordered to make payments to the U.S. District Court Clerk's Office, certified checks or money orders should be
    made payable to the Clerk, U.S. District Court and delivered to the appropriate division office listed below:

                       LOUISVILLE:                  Clerk, U. S. District Court
                                                    I 06 Gene Snyder U.S . Courthouse
                                                    601 West Broadway
                                                    Louisvi ll e, KY 40202
                                                    502/625-3500

                       BOWLING GREEN:               Clerk, U.S. District Court
                                                    120 Federal Building
                                                    24 1 East Main Street
                                                    Bowling Green, KY 4210 1
                                                    270/393-2500

                       OWENSBORO:                   Clerk, U. S. District Court
                                                    126 Federal Building
                                                    423 Frederica
                                                    Owensboro, KY 42301
                                                    270/689-4400

                       PADUCAH:                       Clerk, U.S. District Court
                                                      127 Federal Building
                                                      50 I Broadway
                                                      Paducah, KY 4200 1
                                                      270/415-6400
    If the court finds that you have the present ability to pay , an order may direct imprisonment until payment is made.
